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                                                                                                  &6 7 8 9
                                  IN THE UNITED STATES DISTRICT COURT , A>ut fo ^
                                       FOR THE DISTRICT OF PUERTO RICO ^REC-EIVED A FILED <
                                                                                               CLERK'S OFFICE ^
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                                                                                                JUN 1 3 2013
          UNITED STATES OF AMERICA,
         Plaintiff,                                                                       ^USD^TRJCTCOt/ffr f
                                                                                            ^ SAN JUAN, PR ^
                                                                 CRIMINAL NO. 17-583(F5^P1 ^
                                  V.                                                             ffrf 7 39 ^



          [17] BENNY A. AYALA-ORTEGA
         Defendant.


                                            PLEA AGREEMENT
                                  (Pursuant to Fed. R. Crim. P. ll(c)(l)(B)



       TO THE HONORABLE COURT:

              COMES NOW, the United States of America, by and through its attorneys for the District of

       Puerto Rico: Rosa EmiUa Rodriguez-Velez, United States Attorney; Jose Capo-Iriarte, Assistant United


       States Attorney and Criminal Division's Chief; Alberto R. Lopez-Rocafort, Assistant United States
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\ Attorney and Deputy Chief, Gang Unit; and Cesar S. Rivera Giraud, Assistant United States Attorney,
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^Q
       along with Defendant, BENNY A. AYALA-ORTEGA, and his counsel, Diego H. Alcala-Laboy, and,


       pursuant to Federal Rule of Criminal Procedure ll(c)(l)(B), state to this Honorable Court that they

       have reached a Plea Agreement, the terms and conditions of which are as follows:


              1. COUNTS TO WHICH DEFENDANT PLEADS GUILTY

              Defendant agrees to plead guilty to COUNT ONE and SIX of the Indictment.

              COUNT ONE charges: Beginning on a date unknown, but not later than in or about 2008,

       and continuing up to and until the return of this indictment, in the Municipality ofLuquillo, in the

       District of Puerto Rico, elsewhere, and within the jurisdiction of this Court, Defendant and others,


       did knowingly and intentionally combine, conspire and agree with each other and with diverse other


       persons known and unknown to the Grand Jury, to commit an offense against the United States, that


       is: to possess with the intent to distribute 1 kilogram or more of a mixh.ire- or substance containing a


       detectable amount of heroin, a Schedule I Narcotic Drug Controlled Substance; 280 grams or more of
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a mixture or substance containing a detectable amount of cocaine base ("crack"), a Schedule II Narcotic


Drug Controlled Substance; 5 kiiograms or more of a mixture or substance containing a detectable


amount of cocaine, a Schedule II Narcotic Drug Controlled Substance; and a measurable amount of a


mixture or substance containing a detectable amount of marijuana, a Schedule I Controlled Substance;


a mixture or substance containing detectable amounts of Oxycodone (commonly known as Percocet),


a Schedule II Controlled Substance; and a mixture or substance containing detectable amounts of


Alprazolam (commonly known as Xanax), a Schedule IV Controlled Substance, all within 1,000 feet


of the real property comprising a housing facility owned by a public housing authority, that is, the El

Cemi and El Yukiyu Public Housing Projects; and other areas within and near the Municipality of

Luquillo, Puerto Rico. All in violation of Title 21, United States Code, Sections 846, 841(a)(l) and

860.


          COUNT SIX charges: Beginning on a date unknown, but not later than in or about 2008,


  and continuing up to and until the return of this indictment, in the Municipality ofLuquillo, in the

  District of Puerto Rico, elsewhere, and within the jurisdiction of this Court, did knowingly possess

  firearms of different brands and calibers, as that term is defined in Title 18, United States Code,


  Section 921 (a)(3), in furtherance of a drug trafficking crime for which they may be prosecuted in a

  Court of the United States, that is, conspiracy to possess with intent to distribute heroin, cocaine


  base, cocaine, marijuana, Oxycodone, and Xanax, in violation of Title 21, United States Code,


  Sections 841 (a)(l), 860, and 846, as charged in Count One of this Indictment), all in violation of

  Title 18, United States Code, Section 924(c)(l)(A).
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                 2. PENALTIES

                  The penalty for the offense charged in COUNT ONE of the Indictment is a term of

         imprisonment of not less than 10 years, and not more than 2 terms of life; a fine not to exceed


         $20,000,000; and a supervised release term of not less than 10 years; all pursuant to Title 21, United

         States Code, Sections 841(a)(l)(b)(l)(A), 846, and 860.

                 Based on the stipulated and agreed amount of narcotics possessed by Defendant, that is, at least


         50 but less than 100 grams of cocaine, the penalty for the offense shall be a term of imprisonment of

         not less than 1 year, and not more than 40 years; a fine not to exceed 2,000,000; and a term of supervised


         release of at least 6 years; all pursuant to Title 21, United States Code, Sections 841(a)(l)(b)(l)(C),
  C)
  ^ 846, and 860.
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f~Y~}
1 ~^; The penalty for the offense charged in COUNT SIX of the Indictment is a term of imprisonment

  ^j of not less than 5 years, and UP TO LIFE; a fine not to exceed $250,000 or both, pursuant to Title 18,

         United States Code, Sections 924(c)(l)(A)(i), 3559(a)(l), 357I(b)(3); and aterm of supervised release

         of not more than five (5) years, as provided by Title 18, United States Code. Section 3583(b)(l). The

         sentence to be imposed for COUNT SIX of the Indictment shall run consecutively to any term of

         imprisonment to be imposed, pursuant to Title 18, United States Code, Sections 924(c)(l)(A)(D)(ii).

                 3. SENTENCING GUIDELINES APPLICABILITY

                 Defendant acknowledges that the Court may impose a sentence in accordance with the


         applicable provision(s) of the Sentencing Guidelines, Title 18 United States Code, Section 3551, etseq.

         (hereinafter Guidelines), which are now advisory. Further, the defendant acknowledges to be aware


         that parole has been abolished and the imposition of sentence may not be suspended.
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               4. SPECIAL MONETARY ASSESSMENT

               Defendant agrees to pay a special monetary assessment of one hundred dollars ($100.00), per


       count of conviction, to be deposited in the Crime Victim Fund, pursuant to 18 U.S.C. § 3013(a)(2)(A).

               5. FINES AND RESTITUTION

               Defendant is aware that the Court may, pursuant to U.S.S.G. § 5E1.2, order him to pay a fine


       sufficient to reimburse the government for the costs of any imprisonment, probation, or supervised


       release ordered. The Court may also impose restitution. The United States will make no

-^
       recommendations as to the imposition of fines and restitution.


               6. RULE ll(c)(l)(B) WARNINGS
r\V/
\\ Defendant is aware that his sentence is within the sound discretion of the sentencing judge and
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       the advisory Sentencing Guidelines (including the Guidelines Policy Statements, Application, and

       Background Notes\ Defendant understands and acknowledges that the Court is not a party to this Plea

       Agreement and thus, is not bound by this agreement or the sentencing calculations and/or


       recommendations contained herein. Defendant specifically acknowledges and admits that the Court


       has jurisdiction and authority to impose any sentence within the statutory maximum set for the offense


       to which the defendant pleads guilty. Defendant is aware that the court may accept or reject the Plea


       Agreement, or may defer its decision whether to accept or reject the Plea Agreement until it has


       considered the pre-sentence report. Should the Court impose a sentence up to the maximum established


       by statute, the defendant cannot, for that reason alone, withdraw the guilty plea, and will remain bound


       to fulfill all of the obligations under this Plea Agreement.
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                7.        SENTENCING GUIDELINES CALCULATIONS

               Although the Guidelines are now advisory, United States v. Booker, 125 S.Ct 738, 744, 160


      L.Ed.2d 621 (2005), makes clear the sentencing court is required to consider the Guidelines "sentencing


      range established for... the applicable category of offense committed by the applicable category of


      defendant" in imposing sentence. Booker, 125 S.Ct. at 744. Therefore, the United States and the


      defendant submit the following advisory Sentencing Guidelines calculations as to COUNT ONE and

      SIX:


 %                                      Sentencing Guidelines Calculations Table
                                                           COUNT ONE
                                  At least 50 but less than 100 grams of cocaine "                                  14
             Base Offense Level
'Y/                               USSG;2Dl.l(c)(14)
              Specific Offense    Protected Location. (+2) USSG:2D1.2(a)(l)                                         +2
              Characteristics
                Role in the
                     Offense
                Acceptance        Acceptance of responsibility (Offense level is 16 or more) (-3}                   -3

                                  TOL j CHCI t CHCH | CHC HI | CHCIV | CHC V | CHCV)                   Total
             Sentencing Ranges                                                                                      13
                                     13 12-18 15-21 18-24 24-30 30-37 33-41                         Offense Level
                                                               months



                     Count Six of the           ... If the defendant, whether or not convicted of another
                        Indictment              crime, was convicted of violating section 924(c) of title 1 8
                        60 months               U.S.C., the guideline sentence is the minimum term of
                                                imprisonment required by statute (5 years). Said term is to be
                                                served consecutively to the term of imprisonment to be
                                                imposed in Count One.



               8.         SENTENCE RECOMMENDATION

               As to COUNT ONE, after due consideration of the relevant factors enumerated in 18 U.S.C.


        §3553(a), the parties will recommend a sentence of imprisonment within the range of 12 to 18

        months.
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                As to COUNT SIX, after due consideration of the relevant factors enumerated in 18 U.S.C.


           §3553(a), the parties will recommend a sentence of imprisonment of 60 months, to be served


           consecutively with the term of imprisonment to be imposed in COUNT ONE.


                9. NO STIPULATION AS TO DEFENDANTS CRIMINAL HISTORY

    ?\ CATEGORY
 ."\'




/-- \ The parties do not stipulate any assessment as to the defendant's Criminal History Category.


                10. WAIVER OF APPEAL
^
^ Defendant knowingly and voluntarily agrees that, if the combined sentence imposed by the

        Court is 78 months or less, the defendant waives the right to appeal any aspect of this case's judgment


        and sentence, including but not limited to the term of imprisonment or probation, restitution, fines,


        forfeiture, and the term and conditions of supervised release.


               11. NO FURTHER ADJUSTMENTS OR DEPARTURES

                The United States and Defendant agree that no further adjustments or departures to Defendant s


        total adjusted base offense level and no variance sentence under 18 U.S.C. § 3553 shall be sought by


        Defendant. The parties agree that any request by Defendant for an adjustment or departure will be


        considered a material breach of this Plea Agreement, and the United States will be free to ask for any


        sentence, either guideline or statutory.


                12. DISMISSAL OF REMAINING COUNTS

                At sentencing, the United States will request the dismissal of the remaining counts against


        Defendant.
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                13. SATISFACTION WITH COUNSEL

                Defendant represents to the Court that he is satisfied with counsel, Diego H. Alcala-Laboy, and


        asserts that counsel has rendered effective legal assistance.


                14. RIGHTS SURRENDERED BY DEFENDANT THROUGH GUILTY PLEA

        Defendant understands that by entering into this agreement, defendant surrenders certain rights as


   ^ provided in this agreement. Defendant understands that the rights of criminal defendants include the
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        following:

^\ y a. If the defendant had persisted in a plea of not guilty to the charges, defendant would
^-/
        have had the right to a speedy jury trial with the assistance of counsel. The trial may be conducted by

        a judge sitting without a jury if the defendant, the United States and the judge agree.

                b. Ifajury trial is conducted, the jury would be composed of twelve lay persons selected


        at random. The defendant and the defendant's attorney would assist in selecting the jurors by removing


        prospective jurors for cause where actual bias or other disqualification is shown, or by removing


        prospective Jurors without cause by exercising peremptory challenges. The jury would have to agree,


        unanimously, before it could return a verdict of either guilty or not guilty. The jury would be instructed

        that the defendant is presumed innocent, that it could not convict the defendant unless, after hearing all


        the evidence, it was persuaded of the defendant's guilt beyond a reasonable doubt, and that it was to


        consider each charge separately.


                c. If a trial is held by the judge without a jury, the judge would find the facts and, after

        hearing all the evidence and considering each count separately, determine whether or not the evidence


        established the defendant's guilt beyond a reasonable doubt.
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                 d. At a trial, the United States would be required to present its witnesses and other evidence


         against the defendant. The defendant would be able to confront those witnesses and defendant's


         attorney would be able to cross-examine them. In turn, the defendant could present witnesses and other


         evidence on defendant's own behalf. If the witnesses for the defendant would not appear voluntarily,


         defendant could require their attendance through the subpoena power of the Court.


                 e. At a trial, the defendant could rely on the privilege against self-incrimination to decline
  ^

 .7 to testify, and no inference of guilty could be drawn from the defendant's refusal to testify. If the
 'St




^Q defendant desired to do so, the defendant could testify on the defendant's own behalf.


  .^ J 15. STIPULATION OF FACTS

                 The accompanying Stipulation of Facts signed by Defendant is hereby incorporated into this

         Plea Agreement. Defendant adopts the Stipulation of Facts and agrees that the facts therein are accurate


         in every respect and, had the matter proceeded to trial, that the United States would have proven those


         facts beyond a reasonable doubt.


                 16. LIMITATIONS OF PLEA AGREEMENT

                 This Plea Agreement binds only the United States Attorney's Office for the District of Puerto

         Rico and Defendant. It does not bind any other federal district, state, or local authorities.


                 17. ENTIRETY OF PLEA AGREEMENT

                 This written agreement constitutes the complete Plea Agreement between the United States,


         Defendant, and Defendant's counsel. The United States has made no promises or representations except


         as set forth in writing in this Plea Agreement and denies the existence of any other term and conditions


         not stated herein.
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                   18. AMENDMENTS TO PLEA AGREEMENT

                   No other promises, terms or conditions will be entered unless in writing and signed by all


        parties.


                   19. BREACH AND WAIVER

                   Defendant understands and agrees that if he breaches the plea agreement, he may be prosecuted


        and sentenced for all of the offenses that he may have committed. Defendant agrees that if he breaches
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 ^ this plea agreement, the Government reserves the right to take whatever steps are necessary to nullify

PC}
        the plea agreement, including the filing of a motion to withdraw from the plea agreement and/or to set


        aside the conviction and sentence. Defendant also agrees that if he is in breach of this plea agreement,


        he is deemed to have waived any objection to the reinstatement of any charges under the indictment,


        information, or complaint which may have previously been dismissed or which may have not been


        previously prosecuted.




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         20. VOLUNTARINESS OF GUILTY PLEA

         Defendant acknowledges that no threats have been made against him and that he is pleading

 guilty freely and voluntarily because he is guilty.

ROSA EMILIA RODRIGUEZ-VELEZ
United States Attorney




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                                                            C^el for Defendant ~ur^/ ^.^1 ^ l.(-'lKl-i
                                                            Datf/d: [(\\ \'\V;./)|ci
                                                                        ^^




AIberto R. Lopez-Rocafort
                                   ^^                       2b^A/A/y A A(/AU or-^>
                                                            Benny A. Ayala-Ortega
Assistant U.S. Attorney                                     Defenda^ti
Deputy Chief, Gang Unit                                     Dated:. ^\\A"^\ \
Dated: / /»2 2. /^OW




 Cesar S. Ri^ra Giraud
\4ssistapt-U.S/ Att9i'ney
Dated: ^//^/^/^




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                                    UNDERSTANDING OF RIGHTS

        I have consulted with my counsel and fully understand all of my rights with respect to the

Indictment pending against me. Further, I have consulted with my attorney and fully understand my


rights with respect to the provisions of the Sentencing Guidelines, Policy Statements, Application, and


Background Notes which may apply in my case. My counsel has translated the plea agreement and


explained it to me in the Spanish language and I have no doubts as to the contents of the agreement. I


have read this Plea Agreement and carefully reviewed every part of it with my attorney. I fully


understand this agreemei
                agreement and voluntarily agree to it.

         . ^1' 1^! '^((\
        Date:^7^^4_ ^^/i/yX:
                           /^yAt/\ nr^W
                                                             Benny A. Ayala-Ortega
                                                            Defendant



        I am the attorney for Defendant. I have fully explained Defendant's rights to Defendant with

respect to the pending Indictment. Further, I have reviewed the provisions of the Sentencing


Guidelines, Policy Statements, Application, and Background Notes, and I have fully explained to


Defendant the provisions of those guidelines which may apply in this case. I have translated the plea

agreement and explained it in the Spanish language to the defendant who has expressed having no


doubts as to the contents of the agreement. I have carefully reviewed every part of this Plea Agreement


with Defendant. To my knowledge, Defendant is entering into this^ Plea Agreement voluntarily,

                                                                     .^. . ^
intelligently, and with full knowledge of all consequences ofDefen4^nt's ple^5f/gui)ty.

Date: ^8/?^7 .^•/'dA/
                                                            D;i^g9/&. ^AIcala-Lab^y
                                                            /Counsel for Defendant




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                                               STIPULATION OF FACTS

               In conjunction with the submission of the accompanying Plea Agreement in this case, the


       United States submits the following summary setting forth the version of the facts leading to

       defendant's acceptance of criminal responsibility for violating Title 21, United States Code, Sections


       841(a)(l), 846, and 860; and Title 18, United States Code, Section 924(c)(l)(A)(i), as charged

       respectively in Counts One and Six of the Indictment 17-583(FAB).

               Beginning on a date unknown, but not later than in or about 2008, and continuing up to and


       until the return of this indictment, in the Municipality of LuquUlo, in the District of Puerto Rico,

 ^     elsewhere, and within the jurisdiction of this Court, the defendant and others, the defendants herein,

(^
 ^ did knowingly and intentionally combine, conspire and agree with each other and with diverse other


;\>, persons known and unknown to the Grand Jury, to commit an offense against the United States, that
\v
       is: to possess with the intent to distribute one (1) lcilogram or more of a mixture or substance containing


       a detectable amount of heroin, a Schedule I Narcotic Dmg Controlled Substance; two-hundred and


       eighty (280) grams or more of a mixture or substance containing a detectable amount of cocaine base


       ("crack"), a Schedule II Narcotic Drug Controlled Substance; five (5) Idlograms or more of a mixture


       or substance containing a detectable amount of cocaine, a Schedule II Narcotic Dmg Controlled


       Substance; a measurable amount of a mixture or substance containing a detectable amount of


       marijuana, a Schedule I Controlled Substance; a mixture or substance containing detectable amounts


       of Oxycodone (commonly known as Percocet), a Schedule II Controlled Substance; and a mixture or


       substance containing detectable amounts ofAlprazolam (commonly lcnown as Xanax), a Schedule IV


       Controlled Substance, all within 1 ,000 feet of the real property comprising a housing facility owned by

       a public housing authority, that is, the El Cemi and El Yukiyu Public Housing Projects; and other areas



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         within and near the Municipality ofLuquillo, Puerto Rico. All in violation of Title 21, United States

         Code, Sections 846, 841(a)(l) and 860.

                 Beginning on a date unknown, but not later than in or about 2008, and continuing up to and


         until the return of this indictment, in the Municipality of Luquillo, in the District of Puerto Rico,

         elsewhere, and within the jurisdiction of this Court, Defendant and others did knowingly possess


         firearms of different brands and calibers, as that term is defined in Title 18, United States Code, Section


         921 (a)(3), in furtherance of a drug trafficking crime for which they may be prosecuted in a Court of

         the United States, that is, conspiracy to possess with intent to distribute heroin, cocaine base, cocaine,


  ^'y marijuana, Oxycodone, and Xanax, in violation of Title 21, United States Code, Sections 841 (a)(l),
   "<Y

 ^
f'/-\' 860, and 846, as charged in Count One of this Indictment), all in violation of Title 18, United States
   \
\; Code, Section 924(c)(l)(A).
 ''.




                 Defendant admits that he was a seller, for the drug trafficking organization. As a seller, he


         distributed street quantity amounts of heroin, crack cocaine, cocaine and marijuana, at the drug


         distribution point in El Cemi and El Yukiyu Public Housing Projects. He also possessed firearms

         furtherance of the drug trafficking operations, and to protect other members of the organization, the


         narcotics, and the proceeds derived from the sales of the narcotics.


                 Although multi-ldlogram amounts of the controlled substances mentioned in the in the


         indictment were sold during the conspiracy, for purposes of this plea agreement Defendant admits that


         he conspired to possess with intent to distribute at least 50 grams but less than 100 grams of cocaine,


         to yield a base offense level of 14.


                 Defendant admits that he joined the conspiracy willfully and knowingly and that h was his

         intent at all times that the objectives of the conspiracy succeed. At no time prior to his arrest did



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Defendant manifest his intent to withdraw from the conspiracy.


        Defendant agrees that the facts contained in this statement are true, including any handwriting


edits that may be added to the statement. He adopts this statement of facts as his testimony in support


of his guilty plea, and requests the Court to consider it as the basis for its finding of guilt as to COUNTS

ONE and SIX, to which he has plead.

        At trial, the United States would have proven beyond a reasonable doubt that Defendant is

guilty as charged in COUNTS ONE and SIX of the Indictment by presenting physical and documentary

evidence, including but not limited to: the controlled substances and firearms seized, photographs,


videos, and the testimony of forensic chemists as expert witnesses, cooperators, as well as the testimony


ofDmg Enforcement Administration and Police of Puerto Rico agents among others.


        Full Discovery was timely provided to the Defendant.




Cesar S. Rivera-Giraud                                           )lego H. Alcala-Laboy
Assistant United^Sta^es Attorney                               -Counsel fpr Defendant
Dated: ^/^3/^W7                                                 Dated: \Q- \'Alf)ic




                                                                •7>
                                                                /:^AW/^/;/// nc^:^
                                                               Benny A. Ayala-Ortega
                                                               Defendant I ,
                                                               Dated: ?U' ^




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